Case 24-18804-SLM Doci1 Filed 09/05/24 Entered 09/05/24 13:03:59 Desc Main
Document Page1of9

AMT EM Cerca MUTT Manel Cater Eten .

}

| United States Bankruptcy Court for the:
District of __ NJ
Case number (if known) Chapter you are filing under: C7 SEP -S Plz: 5b
(] Ghapter 7
Ql Chapter 14

C1 Chapter 12
taf Siwiint 13 Cl Gheck if this is an
i : amended filing

Official Farm 101
Voluntary Petition for Individuals Filing for Bankruptcy 1248

Tha bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A marred couple may file a bankruptcy case together—called a
Joint case—and In Joint cases, these forms use you to ask for Information from both debtors..For example, if a farm asks, “Oo you own a car,”
the answer would he yes if either debtor owns a car. When information is naeded about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distingulsh betwaen them. In Joint casas, one of tha spouses must report Information as Debtor 7 and the other as Debtor 2. The
game person must be Debtor 7 in all-of the forms,

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space la needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question. :

cinentem identify Yourself

“About Debtort: .- eee 2 About Debtor 2 (Spouse Only in a-Joint Case):
4. Your full name ,

Write the name that is on your Young
government-issued picture

identification (for example, First name First name i
your driver's license or Jin |
passport), Middle name “Middle name
Bring your picture son |
identification to your meeting —- Last name bast name |
with the trustee.
Suffix (Sr., dr, I Il) Suffix (Sr., Jr., I, Mil)
2, Atl other names you
have used In the last 8 Firstname _ Firetname
yaars :
Include your married or Middle name - Middle name
maiden names. /
Lastname ~~ Lastname
First name First name
Middla name _ Middle name
i
Last name Last name i
3. Only the last 4 digits of 8 3 0 6
: your Social Securlty 2K XK = OK ORK
number or federal OR oR
Individual Taxpayer 9 9
Identification number HX = XX  Oxx = xx -
(ITIN) i

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

Case 24-18804-SLM Doci1 Filed 09/05/24 Entered 09/05/24 13:03:59 Desc Main
Document Page 2 of9

Debtor 7 Young - Jin Son Case number tif known)
Fired Nome Miia Name ter Heme
About Debtor 4: : . About Debtor 2 (Spouse Only in a Joint Case): :
|
4. Any business names . i
and Empfoyer (2! have not used any business names or BINS. CI t have not used any business names or EINS. |
| Identification Numbers |
{EIN} you have used In
| the last 8 years Business name Business nama i
i i
: Include trade names and
doing business as names Business name . Businesd name
| ~ _
BN ee en BR eee
ee ERT
3. Where you live "If Debtor 2 liven at a different adiress:
26 Carter St
Number Sireat "Number Streat :
Norwood NJ 07648
Giiy Sine ZIP Coda Cily Slate 2iP Code
: i
County County
If your matting address Is diferent from the one if Debtor 2’s malilng adiirass is differant from
above, filt it '1 here. Note that the court wit sand ” yours, fill it Ip here, Note that the court will send \
any notices to you at this mailing addrass, "any notices to this mailing address. ;
Number Streat . Number Street
P.Q. Box P.O, Box
Cily State «ZIP Coda Cily Slate = ZiP Cade
14. Why you are choosing Check one: Ghack one:
this district to file for
oo PLOY coco _ over ihe tast 180 days before filing this petition, - dG Over the last-180 days before -filing-this patition,
: 1 have lived In-this district longer than in any . 1 have tived In this district ionger than in any
other district. other district.
CE have another reagan, Explain. . EJ {have another reason. Explain,
(See 28'U,8.6. § 1408.) (See 28 U.S.0. § 1408.)

Official Form 104 Voluntary Petition for Individuals Filing fer Bankruptcy page 2

Case 24-18804-SLM Doci1 Filed 09/05/24 Entered 09/05/24 13:03:59 Desc Main
Document Page 3of9

Debtor 1 You ng Jin Case number tke),
FaeNepey Middia Name hasttiane
Tell the Court About Your Bankruptcy Case
7% The chapter of the Check one. (For a brief description of each, see Notice Required by 17 U.S.C. § 942(b) for Individuals Filing
Bankruptey Cade you for Bankruptcy (Form 2010}). Aleo, go to the top of page 1 and check the approprlate box.
are choosing to tile
under C} Chapter 7
C) Chapter 11
L] Chapter 12
Chapter 13

ee Re EEE bn eae neon nee op NA tg EE ES EE Nt te ee et EER A rand ot RIC n Rei tne ede ednea a EU Lie Bp Oe ee oa eee are Moe Pi Rene ena ne ened Eee og cane a OF ne

8. How you will pay the fee ©)! will pay the entire.feo when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourgelf, you may pay with cash; cashier's check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with @ pre-printed addrass,

& 1 naed to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in installments (Official Form 103A).

C] Lrequest that my fae be walved (You may request this option only If you are filing for Chapler 7.
By law, a judge may, but is not required to, waive your fee, and may do-so only if yaur income is
fess than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill ut the Application to Have the
Chapter 7 Filing Fee Waived (Offtcial Farm 103B) and file it with your petition,

-s, Have you filed for Bd.No
bankruptcy within the
last 8 years? Cl ves. cistriet _. When Case number
MM? ODIYYYY
District .. Wien Case number
hMs DDI YYYY
District When Case number
MM/ DDIYYYY
40. Are any bankruptcy Bane
cases pending or being
filed by a spouse who Is Cl Yes. Debtor Relationship to you
not fling this case with Dietritt Whert Case number, known
you, ar by a buginess MM/OG-/YVYY
partner, or by an
affiliate?
Debtor . Relationship to you
MM ADD FYYYY
41, Do you rent your Kino. Go toting 12.
residence? (2 Yes. Has your landiord obtained an eviction judgment against you and do you want to stay in your
residence’?

£1 No. Go to line 12.
fl Yes. Fil out /aitia! Statement About an Eviction Judgment Against You (For 101A) and file it with
this bankruptcy patition.

Official Form 104 Voluntary Petition for Individuals Fiting for Bankruptcy page 3

Case 24-18804-SLM Doci1 Filed 09/05/24 Entered 09/05/24 13:03:59 Desc Main

Qebtor 4

Young Jin

Document Page 4of9

Son Case number ti kaya,

Fost tame, Mate Name

on Name

Raport About Any Businesses You Own as a Sole Proprietor

12, Are you a sole proprietor

of any full- ar part-time
business?

Asole proprietorship Is a
business you operate as an
Individual, and is not a
separate fegal antily such as
a corporation, partnership, or
LLC.

IF you have more than one
sole proprietorship, use 4
separate sheet and attach it
to this petition.

43, Are you filling under
Chapter 41 of the
Bankrupley Code and
are you a smal! business
debtor?

For a definition of smait

business debtor, see
41 U.8.0. § 104(510).

I No. Go to Part 4.

Yes. Name and location of businass

Name of business, if any

Number Straet

by}

City State 1 Code
Check the appropriate box to describe your susiness:

CF Health Gare Business (as defined in 11 U.8.C. § 101(274)}

(] Singla Asset Real Estate (as defined In 11 U.S.C, § 101/518)

Cl Stockbroker {as defined in 14 U.S.C. .§.101(53A))

Commodity Broker (as defined In 11 U.S.C. § 101{6)}

a ‘None o of the above

ff you are-filfig under Chapter 74, the court must know whether you are a-amall business debtor so that if
can set appropriate dealings, if you indicate that you area smali business debtor, you must attach your
most recent balance sheal, statement of aperalions, cash-flow statement, and federal income tax retura or If
any of these documents do not exist, follow the procedure In 17 U.S.C. § 1116(4)(8).

8 fio. | an aot fing under Chapter 11.

C.No. lam filing under Chapter.11, but! am NOT 4 smail business debtor according to the definition in
the Bankruptey Code.

(2 Yes. | am Gling under Chapter 14 and lam a sinall business deblor according to the definition in the
Bankruptcy Code.

a Royort If You Own or Have Any Hazardous Proparty or Any Property That Needs Immediate Attention

14. Do you own or have any
property that poses or is
alleged to pose a threat
of Imminent and
identifiable hazard to
public health or safety?
Or do you own any

_property-that needs...
immodiate attention?
For example, do you awit
perishable goods, or livestock
that must be fed, ora building
ifatneads urgent rapairs?

Cficia! Form 101

a No
CL) Yes. What ls the hazard?

“Hf immediate attention is needed, why is it needed?

Where ts the property?

Number Streat

Gly State 2lP Coda

Volintary Petition for Individuals Filing for Bankruptcy page 4

Case 24-18804-SLM Doci1 Filed 09/05/24 Entered 09/05/24 13:03:59 Desc Main

Document Page

n in Son
Beblor 1 Young . J
Fogt Nome Middia Name (asi Nema

5 o0f9

Case number td known

ee Explain Your Efforts to Recelve a Briefing About Credit Counsoling

16. Teli the court whether
you have recelved a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptey. You must
truthfully check one of the
following choices. Ifyou
cannot do so, you are not
eligible to file,

iF yau file anyway, the court
can dismiss your case, you
‘will tose whatever filing fea
you paid, and your creditors
‘caf begin collection activilies
again.

Official Form 101

About Debtor t:
You must check one:

C) I received a briefing from an approved oradit
counseling agency within the 180 days before |
filed this bankruptey petition, and { received 4
certificate of completion.

Attach a copy of the ceriificate and the payment
pian, if any, that you developed with the agency,

Kb 1 resetvad a briefing from an approved oredit
counseling agency within the 180 days before }

filed this bankruptey petition, but! do not havea

sertifleate of completion,

Within 14 days alter you file this bankruptcy patition,
you MUST jfile a copy of the certificate and payment

plan, iFany.

(1 1 cortity that | asked for credit counseling
services from en approved aganey, but was
unable to obtala thoes services during the 7
days after t-made my request, and exigent
clrcumstances merit a 30-day teraporary waiver
of the requiramant.

To ask for a 30-day tentporary waiver of the
requirement, attach a separate sheet explaining
what efforts you mada to obtain. the briafing, why
you were unable to obtain it bafore you filad for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court Is
dissatisfied with your reasons for not receiving 8
briefing before you filed for bankruptcy.

if the court is satisfied with your psasens, you must
still receive a briefing within 30 dayg after you fite.
You must file a certificate from the approved
agency, along with a copy of Ihe payment plan you
developed, Hany. Ifyou donot do so, your case
may be dismissed.

Any extension of the 30-day deadiine [s granted
only for cause and is limited to a maximum of 15
days.

Cl lar not required to recalve ¢ briefing about
cradit coungeling because of:

q incapacity. i have a mental iliness or a mental

deficiency ifiat makes me
incapable of realizing or making
rational decisions about finances.
My physical disability causes ma’
to be unable to participate in a
briafing In peréon, by phone, or
through the internet,.even aftar |
reasonably triad to dé go.

Lam curently on active military
duly In a military combat zone.

CI pisabinty.

CT Active duty.

if you believe you are not required {0 receive a
briefing about credit counseling, you must file a

motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Filing for Bankruptcy

" About Debtor 2: (Spouse Only fn a Joint Case):
You must check one:

1 recelved a briefing from en approved credit
counséling agency within the 186 days bafare |
filed this bankruptey patition, and f raceived a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developad with the agency.

C] received a briefing from an approved credit
counseling agency within the 180 days before |
filad this bankruptey. patition, but! do nat have a
cartificate af completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the cartilicate and payment
plan, if any.

C2 i certify that | asked for credit counseling
sarvices from an approved agency, but was
whable to obtaln those services during tha 7
days after | made my raquest, and exigant
clreumstances merit a 20-day tamporary waiver
of the requirement.

To ask for .30-day temporary walver of ihe
requirement, attach a separate sheet explaining
what efforts you made to oblain-the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent clrcumstances
required you to fe this case.

Your ‘case may be dismissed if the court is
dissatisfied with your reasons for not recelving @
briafing before you filed for bankruptcy,

lf the court is satisfied with. your reasons, you must
stik recaive a briefing within 30 days after-you life.
You must file a certificate froin the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadlina is granted
only for cause and is fimitad ta a maximum of 16
days.

- Ci iam not required to racaive a briefing about
cradit caunsailhg bacause of:

q incapacity. | have a menial Illness or a mantal
deficiency that makes ms
incapable of realizing or making
rational decisions about finances.

My physical disability causés me
to be unable to participate ina
briefing In persen, by phone, or
through {he internel, avan after t
teasdnably tried to do so.

Q Activa duty. | arn currenily on active military
duly In a military combat zone.

(J Disability, |

H you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of oradit counseling wilh the court,

page §

Case 24-18804-SLM Doci1 Filed 09/05/24 Entered 09/05/24 13:03:59 Desc Main
Document Page 6 of9

Young Jin Son

Firat Hame: Mddia Name Last Namo

Debtar 1 Case number ti inown),

ia Answer These Questions for Reporting Purposes
iéa. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 107(8)
as “Incurred by an individual primarily for a personal, family, or household purpose."

C) No. Go to line 16b.
Yes. Go to line 17.

16b. Are your debts primarily business debts? Susiness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investnient.

a No. Go to line 16c.
CI Yes. Go to line 17,

16c. State the type of debts you owe that are not consumer debts or business debts.

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after Qt Yes. 1am filing under Chapter7, Do you estimate that altar any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

CI No. fam not filing under Chapter 7. Go to line 18.

ahy exempt property Is

excluded and No
administrative expenses

are paid that funds will be J Yes

avallable for distribution
te unsecured creditors?

18. How many creditorsdo =X} 1-49 (1 1,000-5,000 Q) 26.001-80,000
you estimate that you Cl 50-99 2 6,001-10,000 (2) 80,001-100,000
awe? (2) 100-199 CJ 10,001-25,000 (J More than 100,000
C] 200-999
49, How much do you I so-$50,000 C} $1,000,001-¢10 million (2) $600,000,001-$1 billion

estimate your assets ta
be worth?

C) $50,001-$100,000
(2 $100,001-$500,000
Cl $800,001-81 million

CJ $10,000,001-$50 million
CJ $50,000,004-$100 million
Q $100,000,004-$500 million

[2 $1,000,000,001-810 billion
C1 $10,000,000,001-$50 billion
CJ Mare than $50.billion

“20. How much do you
estimate your liabilities
to be?

Cala Sign Below

(2 $0-$60,000

C $50,001-$100,000
Rl $100,001-$500,000
(2 $800,001-81 million

CI $4,000,001-$10 million

C $10,000,001-850 million
(2 $50,000,001-$100 million
C) $100,000,001-$500 million

Cl) $500,000,001-84 billion

CJ $1,000,000,001-$10-billion
(J $10,000,000,001-$80 billion
CJ More than $50 billion

PSP

. For you

aan anes Coie Pane PE Sard See EE TSE gE aA EPR eS PTI PE ECT PEE YE OS ATE

Official Form 101

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have.chosen fo file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13

of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attornay represents me and | did not pay or agree to pay someone wha is not an attorney to help me fill out

this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).
request rellef in accordance with the chapter of title 11, United States Code, specified in this petition.

1 understand making a false statement, concealing property, or obtaining money or property by fraud In connection

with a bankruptcy case can resultin fines up to $250,000, or imprisonment for up to 20 years, or bath.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x ~lrt BM -2 -»

/igneture of Debtor 1

# Executed on 0 O

MM / DD /*¥Y¥YY

Voluntary Petition for Individuals Filing for Bankruptey

MM/ DD /YYY¥

Signature of Debtor 2

iL Executed on

SE EMSAs HO LS Se ES ss

Case 24-18804-SLM

Doc1 Filed 09/05/24 Entered 09/05/24 13:03:59 Desc Main

Document Page 7 of9
Cebtar # You ng Jin Son Case number (iknow,
Foal Nore Mxdd'e Nate Lait Name
RAS A EE Sa PA RAH OGLE ESE Se TA a te A Ti is i RA PY, FP RS OL TT OLA EA ET eT ee AE

For your attornay, if you are
rapresented by one

if you are not represented
by an attorney, you do not
need to file this page.

Official Form 101

“react yeh daar

i EIT AO ES lk,

£, the atlorney for the debter(s) named In thie patition, declare that have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available wider each chapter for which the person is eligible. | also certify that! have delivered to the debtor(s)
the notice raquirad by 11 U.S.C. § 3421p} afd, In a casein which § 7O7(b)4)(D) apples, carilfy that | have no
knowledge after an inquiry that the information In the schedules filed wilh the petillon ts incorrect.

* . Date .
Signotise of Attomey for Debtor MM 7 OD fYYYY
Printed name
Firevnamea
Number Street
City State aiP Gada
Contact phone Email addrass
Bar number Stala

SRA REESE

if
4

Voluntary Petition for Individuals Filing for Bankruptcy

page 7

Case 24-18804-SLM Doci1 Filed 09/05/24 Entered 09/05/24 13:03:59 Desc Main

Debtor 4

Young Jin

Document Page 8of9

Son Case numbar (known)

Foret Nama Midde Name

SADA ARG LABIA ST Wo oho RO Ried Ao fen res TE er Sted op ee ego eoseetin ca ite ois ny abe cemeteries ot tine

For you If you are filing this
bankruptey without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

Official Form 101

Last Name

The law allows you, as an individual, ta represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To ba successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affact your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
fir if your casa is selected for audit, If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic-stay,

You must list all your property and debts in the schedules that you are required to file with the
court, Even If you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If yau do notlist
property or properly claim it as exempt, you may not be able to keep the property. The Judge can
also deny you a discharge of all your debts If you do something dishonest In your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying, Individua} bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and coniplete.
Bankruptey fraud is a serious crime; you could ba fined and imprisoned.

IF you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must he familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your-case is filed, You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

Q) No

Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

O No

Qi ves

Did you pay or agree to pay someone who is not an attorney to halp you fill out. your bankruptcy forms?
No

CQ) Yes. Name of Parson
Attach Bankruptcy Petition Preparar's Nolice, Declaration, and Signature (Official Farm 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing.a bankruptcy casé without an
attorney may cause me to lose my rights or property if ! do not properly handle the case,

Sp 4 x*
Signature of Debtor 2

Signature of Debtor 7
Dale fy 20 2k Dale
70D /, MM/ DD /YYYY

Contact phone Contact phone
Cell phone Cell phone
Email address Email address

BS AEE Sais ESS RS ee ee Cae

Voluntary Petition for Individuals Fillng for Bankruptey page 8

Pao nih addeoss 3 Batt Decker bake
Ye Weet Valley Cly, JT ATF

(Aelect Moc Cao
SocuXcra
